AO 450 (Rev. 5/85) Judgment in a Civil Case ⊗




                       United States District Court
                                       EASTERN DISTRICT OF WISCONSIN


                                                           JUDGMENT IN A CIVIL CASE
            MICHAEL HOLDER,
                    Plaintiff

                         v.                                CASE NUMBER: 19-C-1194

            CNH INDUSTRIAL AMERICA, LLC,
                    Defendant




           Jury Verdict. This action came before the Court for a trial by jury. The issues
            have been tried and the jury has rendered its verdict.

X           Decision by Court. This action came to trial or hearing before the Court. The
            issues have been tried or heard and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED that the plaintiff shall take nothing by his
complaint and judgment is entered in favor of the defendant on the merits.




            9/21/20                                        Gina M. Colletti
Date                                                       Clerk

                                                           s/ J. Dreckmann
                                                           (By) Deputy Clerk




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